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                                                                                               2021 Nov-24 AM 11:28
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

HILDA BROWN,                                  )
                                              )
       Plaintiff,                             )
                                              )
v.                                            )       CASE NO. 2:20-cv-01619-MHH
                                              )
KEYSTONE FOODS, LLC,                          )
EQUITY GROUP EUFAULA                          )
DIVISION, LLC, AND                            )
TYSON FOODS, INC.,                            )
                                              )
       Defendants.                            )

           DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
       Defendants Tyson Foods, Inc., Equity Group Eufaula Division, LLC and

Keystone Foods, LLC (“Defendants” or “Tyson”)1, pursuant to Federal Rule of

Civil Procedure 56(a), hereby moves for complete summary judgment. As

demonstrated below, no genuine issue of material fact exists and Defendant is

entitled to judgment as a matter of law on all claims brought against it by Plaintiff

Hilda Brown based on judicial estoppel. Therefore, Defendant respectfully request

that this Court grant this Motion for Summary Judgment and enter an order to




1
  Equity Group – Eufaula Division, LLC (“EGED”), a named Defendant in this case, merged
with Defendant Keystone Foods, LLC on January 1, 2021. Defendants deny that EGED is a
proper defendant in this case. However, to the extent EGED is still considered a proper party to
this lawsuit, it hereby adopts and incorporates all arguments stated herein on its behalf and states
that all claims against it should likewise be dismissed on the grounds laid out herein.
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dismiss this case, with prejudice. In support of this Motion, Defendants state as

follows:

                          UNDISPUTED MATERIAL FACTS

       1.      On March 26, 2019, Plaintiff filed a charge of discrimination with the

Equal Opportunity Employment Commission (“EEOC”), which underlies this

present lawsuit. (See Doc. 13-1.2)

       2.      On January 30, 2020, Plaintiff filed for Chapter 13 Bankruptcy

(“Petition for Bankruptcy”) in the United States Bankruptcy Court for the Middle

District of Alabama. (See Doc. 13-2.3)

       3.      In her Petition for Bankruptcy, Plaintiff under oath answered “No” to

the question of whether she had any “[c]laims against third parties, whether or not

[she has] filed a lawsuit or made a demand for payment.” (See 13-2, at 18.) The

question expressly includes “employment disputes . . . or rights to sue.” Id.


2
  Because Plaintiff’s Complaint references her EEOC Charge (Doc. 1, ¶ 2), and she does not
dispute its authenticity, the Court may consider it. See Financial Sec. Assurance, Inc. v.
Stephens, Inc., 500 F.3d 1276, 1284-85 (11th Cir. 2007) (holding that documents referenced by
plaintiff in complaint that are central to claim may be considered if contents not in dispute and
defendant attaches document to motion).
3
  The Court may take judicial notice of Plaintiff’s verified filings made under oath in her
bankruptcy proceedings as they are “not subject to reasonable dispute” because they “can be
accurately and readily determined from [a source] who accuracy cannot reasonably be
questioned.” Fed. R. Evid. 201(b); see also Fed. R. Evid. 201(c)(2) (“The court . . . must take
judicial notice if a party requests it and the court is supplied with the necessary information.”);
See Conroy v. Delta Air Lines, Inc., No. 07-61890-CIV, 2008 WL 1994830, *1 (S.D. Fla. May 8,
2008) (taking judicial notice of a bankruptcy confirmation on a motion to dismiss) (citing Oxford
Asset Mgmt., Ltd. v. Jaharis, 297 F.3d 1182, 1188 (11th Cir. 2002); In re Gurley, 357 B.R. 868,
878 (Bankr. M.D. Fla. 2006) (stating that court “may take judicial notice of the public record
including documents filed and the record in other judicial proceedings”).


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          4.     In   her Petition   for Bankruptcy, Plaintiff    also    signed and

acknowledged: “I have read the answers on this Statement of Financial Affairs and

any attachments, and I declare under penalty of perjury that the answers are true

and correct. I understand that making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can

result in fines up to $250,000, or imprisonment for up to 20 years, or both.” (See

Doc. 13-2, at 49.)

          5.     On March 20, 2020, Plaintiff filed a Notice of Amended Schedules in

her Bankruptcy proceeding. (See Doc. 13-3.)

          6.     Again, Plaintiff represented that she did not have any “[c]laims

against third parties, whether or not [she has] filed a lawsuit or made a demand for

payment.” (See Doc. 13-3 at 5.)

          7.     On July 16, 2020, the EEOC issued Plaintiff a Notice of Right to Sue

Letter for the claims she brought in her EEOC charge. (See Doc. 13-4.4)

          8.     On October 14, 2020, Plaintiff filed her Complaint in this lawsuit

alleging Title VII claims of sex discrimination, sexual harassment, and retaliation

and state-law tort claims of negligent retention and outrage. (Doc. 1.)




4
    See footnote 2.


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      9.     According to her Complaint, Plaintiff expressly seeks recovery of

“back-pay (plus interest), front-pay, compensatory damages, punitive damages,

and or [sic] nominal damages.” (Doc. 1 at 13–14.)

      10.    On February 9, 2021, Tyson filed an Answer to Plaintiff’s Complaint

asserting the defense of judicial estoppel. (Doc. 8 at 27, ¶ 29.)

      11.    To date, over twenty-one (21) months since Plaintiff filed her Petition

for Bankruptcy and almost twenty (20) months since she filed her Notice of

Amended Schedules, Plaintiff has failed to amend her response to the question of

whether she has any claims against third parties.

                             STANDARD OF REVIEW

      Rule 56(c) of the Federal Rules of Civil Procedure authorizes entry of

summary judgment when the pleadings and supporting materials demonstrate that

there is no genuine issue of material fact and that the moving party is entitled to

summary judgment as a matter of law. See Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986). A plaintiff cannot defeat a properly supported motion for

summary judgment without a presentation of specific facts showing a genuine

issue, and may not merely rely on the general allegations of the pleadings. See

Anderson, 477 U.S. at 248.




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                                LEGAL ANALYSIS

      The purpose of judicial estoppel is “to protect the integrity of the judicial

process by prohibiting parties from changing positions according to the exigencies

of the moment.” New Hampshire v. Maine, 532 U.S. 742, 749 (2001). The

principle of judicial estoppel is designed to “prevent a party from asserting a claim

in a legal proceeding that is inconsistent with a claim taken by the party in a

previous proceeding.” 18 Moore’s Federal Practice § 134.30 (3d ed. 2008). In

Burnes v. Pemco Aeroplex, Inc., the Eleventh Circuit provided two primary factors

for establishing judicial estoppel. 291 F.3d 1282 (11th Cir. 2002) First, the

inconsistent position must have been made under oath in a prior proceeding. See id.

at 1285. Second, such inconsistencies must have been calculated to “make a

mockery of the judicial system.” Id.

   A. Plaintiff’s Failure to Disclose Her Claims against Tyson to the
      Bankruptcy Court Constitutes Inconsistent Positions under Oath.
      The Bankruptcy Code makes clear that a “debtor seeking shelter under the

bankruptcy laws has a statutory duty to disclose all assets, or potential assets to the

bankruptcy court.” 11 U.S.C. §§ 521(1), 541(a)(7). Further, the Eleventh Circuit

has held that “[t]he duty to disclose is a continuing one that does not end once the

forms are submitted to the bankruptcy court; rather the debtor must amend her

financial statements if circumstances change.” Robinson v. Tyson Foods, Inc., 595

F.3d 1269, 1274 (11th Cir. 2010). This continuing duty applies to proceedings


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under both Chapter 13 and Chapter 7 alike because “any distinction between the

types of bankruptcies available is not sufficient enough to affect the applicability

of judicial estoppel because the need for complete and honest disclosure exists in

all types of bankruptcies.” Id. (citing De Leon v. Comcar Industries, Inc., 321 F.3d

1289, 1291 (11th Cir. 2003)).

      “[A] pending lawsuit seeking monetary compensation qualifies as an asset.”

Robinson, 595 F.3d at 1274 (citing Parker v. Wendy’s Intern., Inc., 365 F.3d 1268

(11th Cir. 2004)). The continuing duty to disclose applies regardless of whether a

debtor’s plan to pay his creditors has been confirmed. See In re Waldron, 536 F.3d

1239 (11th Cir. 2008) (explaining that a debtor had a duty to amend his schedule of

assets to disclose a complaint that he filed after his plan to pay his creditors had

been confirmed).

      As a result, when Plaintiff’s cause of action against Tyson accrued, the claim

vested in the bankruptcy estate, triggering a duty upon Plaintiff to notice the claim

to all creditors. See 11 U .S.C. § 1303; see also Robinson, 595 F.3d at 1274–75;

see also Van Hoof v. Van Hoof, 997 So. 2d 278, 296 (Ala. 2007) (holding that “[a]

cause of action accrues at the time the complained of action first gives rise to

injury, even if the full extent of the injury is not apparent at the time”). Plaintiff

has simultaneously represented that: (1) she has no legal claims to the bankruptcy

court, (2) while also pursuing these legal claims against Tyson. This is precisely



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the type of dual-track, under-oath inconsistency that the judicial estoppel doctrine

seeks to prevent. See Robinson, 595 F.3d at 1273.

   B. Plaintiff’s Inconsistent Positions Makes a Mockery of the Judicial
      System.
      Judicial estoppel may be applied only in situations involving intentional

manipulation of the courts, not when the litigant’s contradictory positions are the

product of inadvertence or mistake. See Burnes, 291 F.3d at 1287. However, this

intent can be inferred from the record. See Robinson, 595 F.3d at 1275. The

Eleventh Circuit has held that a “debtor’s failure to satisfy its statutory disclosure

duty is ‘inadvertent’ only when, in general, the debtor either lacks knowledge of

the undisclosed claims or has no motive for their concealment.” Robinson, 595

F.3d at 1275 (emphasis added) (citing Barger v. City of Cartersville, 348 F.3d

1289, 1295-96 (11th Cir. 2003)). Here, the record demonstrates both knowledge

and motive.

      There can be no doubt that Plaintiff has had knowledge of her claims against

Tyson during the pendency of her bankruptcy. Plaintiff filed a charge of

discrimination with the EEOC alleging the same claims she brings in this lawsuit

prior to her Petition for Bankruptcy. (See Doc. 13-1.) “When reviewing potential

motive, the relevant inquiry is intent at the time of non-disclosure.” See Casanova

v. Pre Solutions, Inc., 228 Fed. Appx. 837, 841 (11th Cir. 2007). Plaintiff has a

motive to conceal her suit against Tyson because she stands to gain financially by


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her non-disclosure. See De Leon, 321 F.3d at 1292. If Plaintiff’s claim against

Tyson settles prior to the discharge of the bankruptcy, she could keep the proceeds

for herself and deny the creditors a fair opportunity to claim what is rightfully

theirs. See id. The Eleventh Circuit has consistently held that these actions (and

inactions) of failing to disclose known claims are calculated to make a mockery of

the judicial system as a matter of law. See, e.g., De Leon, 321 F.3d at 1291;

Robinson, 595 F.3d at 1275–76.

      Finally, any effort by Plaintiff to amend her bankruptcy schedules following

this Motion would not avoid the application of judicial estoppel. The Eleventh

Circuit has not accepted debtors’ bankruptcy-schedule amendments after

defendants raise a judicial estoppel defense. See, e.g., Barger, 348 F.3d at 1297

(stating “Barger’s attempt to reopen the bankruptcy estate to include her

discrimination claim hardly casts her in the good light she would like. She only

sought to reopen the bankruptcy estate after the defendants moved the district court

to enter summary judgment against her on judicial estoppel grounds.”). To the

contrary, the Eleventh Circuit has explained that allowing these after-the-fact

amendments would “always undo the application of the judicial estoppel doctrine

[and] render it toothless.” Weakley v. Eagle Logistics, 894 F.3d 1244, 1247 (11th

Cir. 2018). Accordingly, the Court should not accept any subsequent attempts by

Plaintiff to amend her bankruptcy schedules to avoid judicial estoppel. See Jones v.



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Savage Servs. Corp., No. 2:17-CV-01570-AKK, 2019 WL 2058715, at *4 (N.D.

Ala. May 9, 2019); Bros. v. Bojangles’ Restaurants, Inc., No. CV-12-BE-2212-E,

2013 WL 6145332, at *9 (N.D. Ala. Nov. 21, 2013).

   C. Binding Precedent Dictates Summary Judgment for Tyson on Judicial
      Estoppel Grounds.
      The Eleventh Circuit and this Court have held judicial estoppel forecloses

plaintiffs’ claims in cases factually and legally similar to this one. In those cases,

the courts have consistently held that the actions by the plaintiffs constituted

inconsistent statements under oath and were calculated to make a mockery of the

judicial system, thus leading to dismissal on judicial estoppel grounds. Based upon

this binding precedent, Tyson is entitled to judgment as a matter of law in this case.

      In Robinson v. Tyson Foods, Inc., 595 F. 3d 1269 (11th Cir. 2010), the

plaintiff filed for Chapter 13 bankruptcy in April 2002. Id. at 1272. The Court

confirmed the bankruptcy plan in May 2002. Id. In September 2005, the plaintiff

resigned her employment claiming “harassment, racial abuse and intimidation” as

the reason. Id. In October 2006, the plaintiff filed a lawsuit against her former

employer alleging unlawful employment practices seeking “compensatory,

punitive, and liquidated damages.” Id. The plaintiff failed to disclose her civil suit

to the bankruptcy court, and the bankruptcy was discharged in July 2007. Id.

Thereafter, the former employer defendant moved for summary judgment on the




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ground that the plaintiff was “precluded from pursuing her suit on the basis of

judicial estoppel.” Id.

      The Eleventh Circuit affirmed the District Court’s summary judgment,

explaining that “[b]y failing to update her bankruptcy schedule to reflect her

pending claim, [the plaintiff] represented that she had no legal claims to the

bankruptcy court while simultaneously pursuing her legal claim against [her

former employer] in the district court.” Id. at 1275. The Court held that “[t]hese

actions, both taken under oath, [were] clearly inconsistent.” Id. The Court also

noted that “[i]t [was] undisputed that [the plaintiff] had knowledge of her claims,”

which supported a finding that the plaintiff’s actions were made with the intent to

make a mockery of the judicial system. Id. The Court then “found that [the

plaintiff] had a motive to conceal her claim because if ‘she realized any proceeds

from the suit prior to the discharge of her bankruptcy . . . she could have kept the

proceeds for herself without their becoming part of the bankruptcy estate and going

to her creditors to satisfy her debts.’” Id. Based on these findings, the Court held

that the plaintiff was judicially estopped from pursing her claim against the

defendant. Id. at 1277.

      Likewise, in Brothers v. Bojangles’ Restaurants, Inc., No. CV-12-BE-2212-

E, 2013 WL 6145332, at *1 (N.D. Ala. Nov. 21, 2013), the Court held that the

plaintiff was judicially estopped from seeking monetary relief for her employment



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claims based on an inconsistent position in her ongoing bankruptcy proceeding.

There, the plaintiff filed for Chapter 13 Bankruptcy on June 7, 2011 and indicated

she had no “unliquidated claims of [any] nature.” Id. at *1. In October 2011, the

plaintiff filed a charge of discrimination against Bojangles with the EEOC. Id. On

June 19, 2012, she filed a lawsuit in federal court alleging Title VII and § 1981

violations and a state-law tort claim. Id.       The Plaintiff did not amend her

bankruptcy petition prior to Bojangles’ Motion for Summary Judgment, though she

did amend her petition to include her lawsuit two weeks thereafter. Id. at *1–2.

      Applying Robinson, the Court held that the plaintiff violated her “continuing

statutory duty to disclose assets in the Bankruptcy case,” which constituted

“inconsistent positions under oath.” Id. at *5 (emphasis in original). In granting

summary judgment to Bojangles, the Court rejected the plaintiff’s argument that

she timely rectified the inconsistency prior to discharge in Bankruptcy. Id. at *6.

The Court explained: “When the amendment only occurs after the defendant raises

a judicial estoppel argument, the Court of Appeals has applied the doctrine of

judicial estoppel to bar the civil case for monetary damages despite the

amendment.” Id. (citing Barger, 348 F.3d at 1297). The Court did not accept

plaintiff’s argument that “because no final discharge [had] occurred . . . she had not

yet misled the court” Id. at *8.




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       Similarly, in Jones v. Savage Services Corp., No. 2:17-CV-01570-AKK,

2019 WL 2058715, at *1 (N.D. Ala. May 9, 2019), the Court dismissed all claims

for monetary relief against the defendant on judicial estoppel grounds. There, too,

the plaintiff had a pending EEOC charge against the defendant at the time he filed

for Chapter 13 Bankruptcy. Id. at *2. The plaintiff declared under penalty of

perjury that he was not a party to any lawsuit or administrative proceeding and had

no claims against third parties. Id. Thereafter, he filed a lawsuit against the

defendant alleging employment discrimination claims. Id. Noting his “continuing

duty to amend his bankruptcy filings” and longstanding “inconsistent position,” the

Court granted the defendant’s Motion for Summary Judgment on judicial estoppel

grounds. Id. at *3–4. In doing so, the Court was unpersuaded by the plaintiff’s

“after-the-fact” effort to amend his bankruptcy pleading so that he could avoid

judicial estoppel. Id. at *4.

       Just like in Robinson, Brothers, and Jones, Plaintiff here clearly took

inconsistent positions under oath by failing to disclose her claims against Tyson to

the bankruptcy court. Further, the evidence is clear that the inconsistent positions

were calculated to make a mockery of the judicial system. Plaintiff had knowledge

of her undisclosed claims against Tyson at the time her employment with Tyson

ended and when she filed her EEOC charge alleging these claims—both of which

occurred prior to her Petition for Bankruptcy. Further, Plaintiff had motive to



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conceal her claims against Tyson from the Bankruptcy Court because she could

keep any potential proceeds for herself and deny the creditors a chance to claim

what is theirs. As such, Plaintiff is judicially estopped from pursuing her claims

against Tyson, and Tyson is entitled to a judgment as a matter of law.

                                 CONCLUSION

      For the foregoing reasons, Tyson respectfully requests that this Court grant

Tyson complete summary judgment and dismiss Plaintiff’s claims with prejudice.


                                      Respectfully submitted,

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                       CERTIFICATE OF SERVICE

       I hereby certify that on November 24, 2021, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following:

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                                    /s/ Stephanie H. Mays
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